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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CENTRUST BANK, N.A.              )
                                 )                  Case No. 21-CV-02576
          Plaintiff,             )
                                 )
                  v.             )                  Hon. Judge Sara L. Ellis
                                 )
RUBEN YBARRA, YRY HOLDINGS, LLC )                   Hon. Magistrate Judge Maria Valdez
and BOULDER HILL APARTMENTS, LLC )
                                 )
          Defendants.            )

               DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO
            ANSWER OR OTHERWISE PLEAD IN RESPONSE TO COMPLAINT

       NOW COME Defendants, Ruben Ybarra (“Ybarra”), YRY Holdings, LLC (“YRY”) and

Boulder Hill Apartments, LLC (“Boulder Hill”) (collectively, “Defendants”), by their attorney,

Rakesh Khanna, and as Defendants’ Motion for Extension of Time to Answer or Otherwise Plead

in Response to Complaint, state as follows:

       1.      On May 12, 2021, Plaintiff, Centrust Bank, N.A. (“Plaintiff”), filed its Complaint

to initiate the above-referenced case.

       2.      On May 27, 2021, YRY was served with the Summons and Complaint.

       3.      On May 28, 2021, Boulder Hill was served with the Summons and Complaint.

       4.      On June 23, 2021, Ybarra was served with the Summons and Complaint.

       5.      On June 24, 2021, Rakesh Khanna filed his Appearance on behalf of Defendants.

       6.      Defendants request through July 22, 2021, to investigate the facts and law

necessary to determine how to appropriately respond to the Complaint. There is “good cause” for

granting this extension under Federal Rule of Civil Procedure 6(b), including “excusable neglect”


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relating to YRY and Boulder Hill. Specifically, Yolanda Ybarra is the principal of YRY and

Boulder Hill, and the wife of Ybarra. In May, 2021, and June, 2021, Ybarra was dealing with an

urgent medical condition, which required hospitalization and invasive procedures. During this

period, Yolanda Ybarra had to direct her attention to Ybarra’s urgent medical needs, and due to

these urgent medical needs and Ybarra’s lack of availability, Yolanda Ybarra had to attend to her

young children and other household duties which were to a substantial degree the responsibility

of Ybarra—all while Yolanda Ybarra managed her full-time, demanding insurance business.

Also, with little notice, the lawyer who Defendants believed would represent them in this action

became unavailable to file an appearance in this action, requiring the Defendants to retain alternate

counsel, Rakesh Khanna. In addition, YRY and Boulder Hill are only approximately 10 days late

in responding to the Complaint, and neither will miss any other deadlines now that they are

represented by competent counsel.         The foregoing facts describe exigent circumstances

comprising “excusable neglect” sufficient for this Court to grant the requested extension.

       7.      Plaintiff will not be prejudiced in any manner if this Court grants Defendants until

July 22, 2021, to answer or otherwise plead to Plaintiff’s Complaint. On the other hand, the

Defendants would be prejudiced if this Court did not grant the relief because the Defendants have

meritorious defenses to the claims alleged in the Complaint. Specifically, the Complaint is

vulnerable to be dismissed pursuant to federal rule of Civil Procedure 12(b)(6) for the failure to

state a claim upon which relief can be granted.

       8.      In light of the foregoing, this Court should grant the extension of time for

Defendants to file their Answer or otherwise plead in response to the Plaintiff’s Complaint.

       WHEREFORE, Defendants, Ruben Ybarra, YRY Holdings, LLC and Boulder Hill

Apartments, LLC, pray that this Court grant them an extension through and including July 22,


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2021, to file their answer or otherwise plead in response to the Plaintiff’s Complaint; and for such

other and further relief as this Court deems just and proper.

                                      RUBEN YBARRA, YRY HOLDINGS, LLC AND
                                      BOULDER HILL APARTMENTS, LLC, Defendants


                                      By:      /s/ Rakesh Khanna
                                             One of their attorneys


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                               CERTIFICATE OF SERVICE

         I, Rakesh Khanna, certify that on June 24, 2021, I caused MOTION FOR
EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD IN RESPONSE TO
COMPLAINT to be filed electronically. Notice of these filings was sent to all parties
registered with the court’s CM/ECF electronic transmission system, including to the following
parties:

Adam Brent Rome, Esq.
Zachary Mulcrone, Esq.
Greiman Rome & Griesmeyer LLC
205 West Randolph, Suite 2300
Chicago, IL 60606
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                                       /s/ Rakesh Khanna
                                        Rakesh Khanna




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